                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                               Plaintiff,            )
                                                     )
                        v.                           )       No. 06-4002-10-CR-C-NKL
                                                     )
CYRUS OTIS POPE,                                     )
                                                     )
                               Defendant.            )

                             REPORT AND RECOMMENDATION

       This case was referred to the undersigned United States Magistrate Judge for processing
in accord with the Magistrate Act, 28 U.S.C. § 636, and W.D. Mo. R. 22.
       On December 4, 2006, a hearing was held on the respective motions for bill of
particulars, severance, disclosure of confidential informants, and suppression filed by
codefendants Cyrus Pope, Douglas Comstock, Calvin Corley and Olan George. Cyrus Pope
appeared in person and was represented by counsel Michael Gorla. Douglas Comstock appeared
in person and was represented by counsel Kimberly Shaw. Calvin Corley appeared in person
and was represented by counsel Bryan Scheiderer. Olan George appeared in person and was
represented by counsel Stan Clay. All defendants had the opportunity to present evidence and to
cross-examine any witnesses.
       Defendant Pope’s motions seeking suppression of intercepted wire communications and
evidence seized from his residence were addressed at the hearing. DEA Case Agent Steve
Mattas testified as to the facts pertaining to these motions. Agent Mattas’ testimony has not
been seriously challenged by defendants and the court finds Agent Mattas to be a credible
witness.
                Motion for Suppression of Intercepted Wire Communications
       Defendants raise two challenges to the intercepted wire communications: (1) necessity;
and (2) minimization.




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Necessity
       Title 18, United States Code, § 2518(1)(c), provides that an application for an order
authorizing a wiretap must include, among other things, “a full and complete statement as to
whether or not other investigative procedures have been tried and failed or why they reasonably
appear to be unlikely to succeed if tried or to be too dangerous.” This requirement seeks to
insure that wiretaps are not routinely employed as the initial step in an investigation. United
States v. Thompson, 210 F.3d 855, 858-59 (8th Cir. 2000).
       As to the issue of necessity in the instant case, it is clear from the testimony of Agent
Steve Mattas that at the time the wiretap was authorized, the investigation had been under way
for some time and agents did not know the full scope of the conspiracy and lacked important
corroboration for their cases against a number of the defendants in the case. The fact that agents
had already collected evidence from other sources does not mean that further evidence was
unnecessary or that it was not proper to investigate the full scope of the conspiracy in which
defendants were involved. The Government does not have to stop its investigation once it has a
pretty good case; rather, the Government can utilize a wiretap to solidify its case with strong
evidence which will convince a jury of defendant’s guilt beyond a reasonable doubt. The rule of
necessity does not require that a wiretap be absolutely necessary or that information cannot be
obtained from other sources, or that law enforcement officers exhaust “specific” or “all possible”
investigative techniques before wiretap orders could be issued. United States v. Matya, 541 F.2d
741, 745 (8th Cir. 1976). The Government is not required to “explain away all possible
alternative techniques, since the Government is not required to use a wiretap only as a last
resort.” Id.
       The issue is not what the Government knew, but what they did not know. The
Government sought a wiretap in order to acquire useful evidence to strengthen its case against all
participants involved in the conspiracy, and to acquire evidence about the means of
transportation used, the storage methods employed, the individuals involved in the distribution
process, and how drug proceeds were being utilized. The affidavit submitted by Agent Mattas in
support of the wiretap warrant set forth in great detail the investigative techniques that had been
considered, specific investigative measures undertaken over the prior two years, the limitations
of such measures, and why an order allowing interception of wire communications should be

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issued. The Eighth Circuit has held that if law enforcement officers are able to establish that
conventional investigatory techniques have not been successful in exposing the full extent of the
conspiracy and the identity of each coconspirator, the necessity requirement is satisfied. United
States v. Jackson, 345 F.3d 638, 644 (8th Cir. 2003). See also United States v. Maxwell, 25 F.3d
1389, 1394 (8th Cir. 1994); United States v. Macklin, 902 F.2d 1320, 1327 (8th Cir. 1990)
(necessity requirement met where affidavit demonstrated that traditional investigative procedures
failed to reveal full conspiracy or sufficient evidence to prosecute identified conspirators).
         The Court finds the application for wiretap authorization established the necessity for
seeking a wiretap authorization, and the order of authorization was proper.
Extension of Wiretap Order
         An application for an extension of a wiretap order must include “a statement setting forth
the results thus far obtained from the interception, or a reasonable explanation of the failure to
obtain such results." 18 U.S.C. § 2518(1)(f). In addition, the “issuing court is required to make
the same findings for an extension order as it is for an original order." United States v. Brone,
792 F.2d 1504, 1506 (9th Cir. 1986) (citing United States v. Giordano, 416 U.S. 505, 530
(1974); 18 U.S.C. § 2518(5)).
         Pope claims that the application for the extension of the wiretap order was facially
insufficient because it, like the initial affidavit, failed to meet the necessity requirement. Pope
offers no specific argument, but makes the claim that the extension was unnecessary and
gratuitous because the Government, by then, clearly had all the evidence needed to prosecute its
case.
         A review of the affidavit in support of the application for a thirty-day extension of
wiretap authorization reveals that the Government established the necessity for further wire
interception. The affidavit in support of the extension states that due to technical problems and
other developments, there was a limited time in June 2005 during which officers could monitor
all pertinent conversations conducted by the Rodebaugh organization. The affidavit further
stated that continued interception was needed to accomplish the goals of the investigation,
namely to expose the full scope of the conspiracy. The affidavit further articulated why
alternative investigative techniques were insufficient to accomplish these investigative goals. A
wiretap can be lawfully extended in order to allow investigative officers to fully develop the

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extent of a conspiracy and the identity of the conspirators. United States v. Nguyen, 46 F.3d
781, 783 (8th Cir. 1995). See also United States v. Davis, 882 F.2d 1334, 1344 (8th Cir. 1989)
(reliance on telephones, distrust of confederates, and use of specialized jargon rendered normal
investigative techniques impractical, and broad scope and complexity of operation compounded
the investigation, thus extension of wiretap lawful).
Minimization
       Defendant Pope claims that investigators failed to properly minimize the wire
interceptions. In support of his claim, Pope sets forth statistical information reflecting the
number of telephone conversations minimized relative to the total number intercepted. He
further sets forth four conversations which he claims should have been minimized.
       The Government argues Pope’s claim of improper minimization must fail because he
lacks standing to challenge this issue, and further, even if he possessed standing, his claim would
still fail because the Government’s efforts to minimize in this case were reasonable, given the
scope of the conspiracy being investigated, the extensive judicial oversight that occurred, the
length of the calls being monitored, and the fact that the calls contained coded or ambiguous
language.
       The Court finds that defendant Pope has standing to challenge the wire communications
intercepted by the Government, but only those to which he was a party. Thus, the issue is
whether the Government complied with the minimization requirement of section 2518(5) as to
those conversations. Minimization is determined by an objective reasonableness standard. Scott
v. United States, 436 U.S. 128, 137-38 (1978); United States v. Macklin, 902 F.2d 1320, 1328
(8th Cir. 1990). When determining whether the Government’s surveillance was reasonable, “a
reviewing court must consider a variety of factors, including the scope of the enterprise, the
agent’s reasonable expectation of the content of a call, the extent of judicial supervision, length
and origin of a call, and use of coded or ambiguous language.” Macklin, 902 F.2d at 1328.
More extensive wiretapping is reasonable when the investigation focuses on determining the
scope of a widespread conspiracy. Scott, 436 U.S. at 1340. This is also true when the
conversations are in the jargon of the drug trade. United States v. Losing, 539 F.2d 1174, 1180
(8th Cir. 1976); United States v. Daly, 535 F.2d 434, 439 (8th Cir. 1976); United States v. Davis,
882 F.2d 1334, 1345 (8th Cir. 1989). The Government’s conduct can be reasonable even if the

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total number of conversations intercepted contained a high percentage of nonpertinent calls.
Scott, 436 U.S. at 140; United States v. O’Connell, 841 F.2d 1408, 1417 (8th Cir. 1989).
       In this case, the testimony of Agent Mattas is found to be credible. He reviewed all calls
and attempts were made to minimize whenever possible. However, for a number of legitimate
reasons, many conversations were not minimized.
       First, most conversations could not immediately be minimized because the conversations
started with small talk before drug trafficking was discussed. Thus, agents were required to
listen for a minute or two to get past the small talk to be able to determine whether a
conversation was pertinent to the drug conspiracy investigation.
       Second, most conversations related to drug trafficking were in code; therefore, it was
difficult for agents to determine immediately whether a given conversation was about drug
trafficking. For example, investigators determined that participants in the conspiracy frequently
referred to car parts as code for narcotics or money.
       Third, approximately fifty percent of monitored telephone calls were one minute or less
in duration, and approximately eighty percent were two minutes or less. Thus, due to the short
duration of these calls, in conjunction with participants beginning their conversations with small
talk, and using code language, minimizing these calls was impossible.
       Further, although the records indicate that only seven percent of the 3,600 monitored
calls were minimized, that is partly because of the short duration of eighty percent of those calls.
Minimization was really only practical in about 720 of the 3,600 calls. Since 252 calls were
minimized and only about 720 were realistically capable of minimization, the percent of
minimized calls is closer to 35 percent.
       Defendant Pope has established no basis to suppress evidence obtained pursuant to the
wiretaps authorized in this case, based on officers’ failure to employ proper minimization
procedures. Agents were investigating a wide-ranging drug conspiracy involving a number of
participants. Agents monitoring the calls were properly trained on minimization. The
procedures employed by monitoring agents to minimize interception of nonpertinent
conversations were reasonable. The Court need not address the issue of remedy, absent a finding
of failure to minimize. There is no evidence that the Government failed to minimize calls to
which defendant Pope was a party.

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                           Evidence Seized from Defendant’s Residence
       Defendant seeks to suppress all evidence seized from the search of his residence, citing
(1) that the search warrant lacked particularity and is over broad; (2) supporting affidavit fails to
establish probable cause; and (3) the search warrant was illegally executed.
Particularity of Warrant
       The Fourth Amendment prohibits “general warrants" in an effort to prevent exploratory
rummaging in a person’s belongings by requiring that a “particular description" of the thing to be
seized be stated in the warrant. Coolidge v. New Hampshire, 403 U.S. 443, 467 (1971). The
constitutional standard for particularity of description in a search warrant is met if the
description is sufficiently definite so as to enable the officer with the warrant to reasonably
ascertain and identify the place to be searched and the objects to be seized. Steele v. United
States, 267 U.S. 498, 503-04 (1925); United States v. Davis, 557 F.2d 1239, 1248 (8th Cir.
1977); United States v. Johnson, 541 F.2d 1311, 1313 (8th Cir. 1976). Accordingly, the degree
of specificity required is flexible, and may vary depending on the circumstances and the type of
items involved. United States v. Davis, 542 F.2d 743, 745 (8th Cir. 1976). The underlying
measure of adequacy in the description is whether, given the specificity in the warrant, a
violation of personal rights is likely. Johnson, 541 F.2d at 1313; United States v. Muckenthaler,
584 F.2d 240, 245 (8th Cir. 1978).
       In the instant case, the affidavit reflected that officers were seeking evidence relating to
drug trafficking activity. The affiant, a DEA agent with extensive experience in narcotics
investigations, discussed the methods utilized by drug traffickers in conducting their activities.
The agent noted that drug traffickers often placed assets in the names of others, and often
maintained books, receipts and other records pertaining to their drug activity at their residence.
The agent noted that drug traffickers also typically maintained assets, records pertaining to
assets, and monetary instruments. The affidavit reflected that individuals involved in drug
trafficking typically maintain lists of names of associates.
       The warrant in this case authorized the seizure of “[a]ny and all evidence related to drug
trafficking including, but not limited to,” and then set forth categories of evidence subject to
seizure.
       The first listed category subject to seizure included:

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        Any and all tax records, books, records, receipts, bank statements, and records,
        money drafts, letters of credit, money orders, and cashier’s checks, receipts,
        passbooks bank checks, lease agreements, loan records, documents and/or keys
        relating to safe deposit boxes and other items evidencing the obtaining, secreting,
        transfer, and/or concealment of assets, and the obtaining, secreting, transfer
        concealment and/or expenditure of money gained through drug trafficking,
        including but not limited to, paper and computer formats.
        Another category of items to be seized listed evidence related to travel, including: “Any
and all records, tickets, notes, schedules, receipts, and other items relating to intrastate,
interstate, and foreign travel, including but not limited to, paper and computer formats, and
packages.”
        The warrant authorized the seizure of evidence identifying individuals who might be
connected to the conspiracy, including: “Any and all address and/or telephone books and
records reflecting names, addresses, and/or telephone numbers, including but not limited to,
paper and computer formats.”
        The warrant authorized the seizure of records of narcotics activity, including: “Any and
all books, records, receipts, notes, ledgers, and other papers relating to the transportation,
ordering, purchase, and distribution of controlled substances, including but not limited to, paper
and computer formats.”
        Finally, the warrant authorized the seizure of evidence relating to assets derived from
drug trafficking activity, including: “Any and all United States currency and financial
instruments, including stocks and bonds which are evidence of the receipt, transfer, and secreting
of assets.”
        The Fourth Amendment’s specificity requirement has been construed by the courts to
provide a practical margin of flexibility in the degree of specificity required in search warrant
descriptions. The Eighth Circuit has stated that the standard used to determine the adequacy of
the warrant description is one of “practical accuracy,” and that the degree of specificity may
necessarily vary according to the circumstances and types of items involved. Johnson, 541 F.2d
at 1313, 1314. “Where the precise identity of goods cannot be ascertained at the time the
warrant is issued, naming only the generic class of items will suffice." Id.; see also United States
v. Peters, 791 F.2d 1270, 1278 n. 3 (7th Cir. 1986); United States v. DeLuna, 763 F.2d 897, 908
(8th Cir. 1985).

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       The categories of items to be seized from defendant Pope’s residence were described
with as much specificity as possible, given the nature of the case. The categories of items
identified to be seized provided for officers to reasonably ascertain and identify that place to be
searched and the items to be seized. The items to be seized were all items that could be
admissible evidence useful in obtaining a conviction, otherwise known as “evidence of crime.”
Consequently, the seizing officers’ discretion was narrowly channeled to the specific category of
items identified, thus making a violation of defendant Pope’s rights unlikely. Pope’s claim that
the warrant lacked “particularity” is without merit.
Affidavit Sufficiently Established Probable Cause
       As set forth above, this court has determined that the information obtained through
interception of wired communications is not subject to suppression, and thus, was properly relied
upon in determining probable cause.
       Further, defendant Pope’s challenge to the relied-upon statements of a confidential
informant, as unreliable, does not establish a lack of probable cause.
       When an affidavit is based in substantial part on information from an informant, the
informant’s reliability, veracity and basis of knowledge are relevant considerations; however, are
not independent, essential elements in finding probable cause. Illinois v. Gates, 462 U.S. 213,
230 (1983); United States v. Ross, 713 F.2d 389, 393 (8th Cir. 1983). The court has recognized
that this standard permits, “for example, an informant’s clear basis of knowledge [to] be
balanced against, rather than automatically overruled by, that informant’s lack of a ‘track record’
of reliability." United States v. Reivich, 793 F.2d 957, 959 (8th Cir. 1986). Moreover, the
“totality of the circumstances” is the determining standard of probable cause. United States v.
Ross, 713 F.3d 389, 393 (8th Cir. 1983).
       In the instant case, the affidavit provided information from a confidential informant
whose identity was known to law enforcement, and who had first-hand knowledge of Pope
purchasing bulk marijuana from Rodebaugh. The information was significantly corroborated by
numerous intercepted telephone conversations which indicated Pope was buying dealer
quantities of marijuana, as well as other corroborating information. Significant corroboration by
other sources, as well as the known confidential informant’s basis of knowledge being first hand,
establish the reliability of the information provided by the confidential informant. The totality of

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the circumstances provides clear evidence of Pope’s ongoing involvement in drug activity, and
the affidavit supporting the search warrant established a probable cause to believe that evidence
related to drug trafficking would be found in Pope’s residence in July 2005.
       Based upon the foregoing, the affidavit established probable cause for the issuance of a
warrant to search the residence of defendant.
Good Faith Exception.
       Further, even if the affidavit failed to establish probable cause, evidence obtained as a
result of the search of defendant’s residence cannot be excluded because the search was based
upon officers’ good-faith reliance on the judicially authorized search warrant. United States v.
Leon, 468 U.S. 897 (1984); United States v. Moore, 41 F.3d 370, 376 (8th Cir. 1994). The good-
faith exception allows evidence obtained pursuant to a search warrant, later found to be invalid,
to be admissible if the executing officers acted in good faith and in objectively reasonable
reliance on the warrant. United States v. Leon, 468 U.S. at 922.
       An officer’s reliance on a search warrant is determined unreasonable, and thus, the good-
faith exception does not apply when (1) the judge issuing the warrant was misled by information
in an affidavit that the affiant knew was false or should have known was false except for his
reckless disregard for the truth; (2) the issuing judge wholly abandoned his judicial role; (3) the
warrant is based on an affidavit so lacking in indicia of probable cause as to render official belief
in its existence entirely unreasonable; or (4) the warrant is so facially deficient that executing
officers cannot reasonably presume it to be valid. Id. at 923; see also United States v. Simpkins,
914 F.2d 1054, 1057 (8th Cir. 1990).
       When assessing the objective good faith of police officers executing a warrant, the court
looks at the totality of circumstances. United States v. Simpkins, 914 F.2d at 1057. In the
absence of allegations that the affiant gave false information to, or of misconduct on the part of,
the issuing judge, the determination is based upon whether an objectively reasonable officer
could have believed the seizure valid. Id.
       In the instant case, there is no evidence that the authorizing judge was misled or
abandoned his judicial role. Further, the warrant application and affidavit were not so lacking in
indicia of probable cause, or the warrant so facially deficient that reliance upon the search
warrant was unreasonable. The court finds reliance on the search warrant by executing officers

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to be reasonable and in objective good faith; therefore, the good-faith exception applies to the
evidence seized from defendant’s residence.
Execution of Search Warrant
       Defendant seeks to suppress evidence seized in his home, citing illegal execution of the
search warrant for noncompliance with Fed. R. Crim. P. 41. Defendant cites execution of the
search warrant at 5:57 a.m., three minutes before the time of 6:00 a.m. authorized in the search
warrant.
       Noncompliance with Rule 41 prerequisites does not automatically require the exclusion
of evidence in a federal prosecution. United States v. Brown, 584 F.2d 252, 258 (8th Cir. 1978).
In United States v. Burgard, 551 F.2d 190, 193 (8th Cir. 1977), the Eighth Circuit adopted the
prejudicial error rule set forth in United States v. Burke, 517 F.2d 377, 386-87 (2d Cir. 1975),
regarding violations of Rule 41, and determining whether or not suppression of the evidence is
warranted. In Burke, the court held that suppression of the fruits of the search is not required
absent a showing of (1) “prejudice in the sense that the search might not have occurred or would
not have been so abrasive if the Rule had been followed,” or (2) “evidence of intentional and
deliberate disregard of a provision in the Rule.” United States v. Burke, 517 F.2d at 386-87.
       Defendant Pope has not established that he was prejudiced in any way because the search
occurred three minutes before the authorized time, nor has he shown that officers acted with
intentional and deliberate disregard of a provision in the rule. Defendant Pope has failed to
establish a basis for suppressing evidence seized during the search of his residence. See United
States v. Schoenheit, 856 F.2d 74 (8th Cir. 1988) (although nighttime search of defendant’s farm
for marijuana did not comply with Rule 41, suppression of evidence seized was not warranted).
                                            Conclusion
       Defendant Pope’s motions seeking suppression of intercepted wire communications and
evidence seized from his residence should be denied.
       IT IS, THEREFORE, RECOMMENDED that defendant Pope’s motions to suppress
evidence and intercepted wire communications be denied [162, 163].
       Under 28 U.S.C. § 636(b)(l), the parties may make specific written exceptions to this
recommendation within ten (10) days. If additional time is needed, a motion for an extension of
time must be filed within ten days. The motion should state the reasons for the request. See Nash

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v. Black, 781 F.2d 665, 667 (8th Cir. 1986) (citing Thomas v. Arn, 474 U.S. 140 (1985));
Messimer v. Lockhart, 702 F.2d 729 (8th Cir. 1983). Failure to make specific written exceptions
to this report and recommendation may result in a waiver of the right to appeal.
       Dated this 20th day of February, 2007, at Jefferson City, Missouri.



                                             /s/    William A. Knox
                                             WILLIAM A. KNOX
                                             United States Magistrate Judge




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